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    9   Attorneys for Plaintiffs

   10   (See Signature Page for Names and Addresses
        of Additional Counsel for Plaintiffs)
   11

   12                          UNITED STATES DISTRICT COURT

   13                         CENTRAL DISTRICT OF CALIFORNIA

   14                                      WESTERN DIVISION

   15
      RICHARD B. CLARK, f/d/b/a                     Case No. CV 08-03540 VBF (FFMx)
   16 AUSTIN’S BARBEQUE & TAVERN;
      JJ MANAGEMENT CO., INC., and
   17 MICHAEL RABINOWITZ, d/b/a
      GOODFELLOW AUTOMOTIVE,                        CLASS ACTION
   18 Individually and On Behalf of All Others
      Similarly Situated,
   19                                               NOTICE OF MOTION AND
                             Plaintiffs,            MOTION FOR AN AWARD OF
   20                                               ATTORNEYS’ FEES AND COSTS
                 vs.                                AND PLAINTIFFS’
   21                                               COMPENSATION AWARDS
      ADVANCEME, INC., d/b/a SUPPLY
   22 SERVICES,                                     Date:     March 28, 2011
                                                    Time:     1:30 p.m.
   23              Defendant.                       Place:    Courtroom of the Hon.
                                                              Valerie Baker Fairbank
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   25   AND RELATED COUNTERCLAIMS

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         1413890v1/010557
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2           PLEASE TAKE NOTICE THAT on March 28, 2011, at 1:30 p.m., or as
    3   soon thereafter as counsel may be heard, before the Hon. Valerie Baker Fairbank,
    4   United States District Judge, in Courtroom 9 of the United States District Court,
    5   located at 312 No. Spring Street, Los Angeles, California 90012, plaintiffs will and
    6   hereby do respectfully move the Court for an order granting plaintiffs’ motion for
    7   the requested attorneys’ fee and expense award and plaintiffs’ compensation
    8   awards.
    9           This motion is made and based upon this notice of motion, the memorandum
   10   of points and authorities filed in support thereof, the Declaration of Marc M.
   11   Seltzer, the Declaration of Anat Levy in support of plaintiffs’ motion for an award
   12   of attorneys’ fees and costs and plaintiffs’ compensation awards, the exhibits
   13   attached thereto, all of the papers, pleadings and files herein, and all other written or
   14   oral argument as may be presented to the Court.
   15
        Dated: January 12, 2011          MARC M. SELTZER
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    1
                                     ANAT LEVY
    2                                ANAT LEVY & ASSOCIATES, P.C.
    3

    4                                By    /s/ Marc M. Seltzer
                                           Marc M. Seltzer
    5                                 Attorney for Plaintiffs
                                      Richard B. Clark, f/d/b/a Austin’s Barbeque
    6                                 & Tavern, JJ Management Co., Inc., and
                                      Michael Rabinowitz, d/b/a Goodfellow
    7                                 Automotive
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